       Case 2:15-cr-00028-KJM Document 55 Filed 11/24/15 Page 1 of 2


                                                                                FILED
                        UNITED STATES DISTRICT COURT                  November 24, 2015
                       EASTERN DISTRICT OF CALIFORNIA                  CLERK. US OSITRICT COURT
                                                                         EASTERN DISTRICT OF
                                                                          .   CALIFORNIA


UNITED STATES OF AMERICA,                    Case No. 2:15-cr-00028-KJM

                Plaintiff,

      v.                                             ORDER FOR RELEASE OF
                                                      PERSON IN CUSTODY
SLAVIC KHUDOY,

                Defendant.

TO:   UNITED STATES MARSHAL:
                                                     §
      This is to authorize and direct you to release SLAVIC KHUDOY          I




Case No. 2: 15-cr-00028-KJM Charge from custody for the following reasonS:

                       Release on Personal Recognizance
              ------
                                                         50,000, cosigned bybrotherm;.
                x      Bail Posted in the Sum of $
                                                         law

                       ------ Unsecured Appearance Bond $ ------------c-­
                              Appearance Bond with 10% Deposit
                       ---

                       ------ Appearance Bond with Surety
                       - - Corporate Surety Bail Bond
                         x

      Issued at Sacramento, California on November 24, 2015 at
               ~

           3: ~J ~fV"'
                                    By:     CQ/)JhL~
                                          Magistrate Judge Carolyn K. Delaney .
Case 2:15-cr-00028-KJM Document 55 Filed 11/24/15 Page 2 of 2
